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                        UNITED STATES BANKRUPTCY COURT
                                         Southern District of Georgia

In re:                                                                         Case No.: 19−60145−EJC
Linda F. Hill
       Debtor                                                                  Judge: Edward J. Coleman III
                                                                               Chapter: 13


                ORDER ON MOTION FOR EXTENSION OF AUTOMATIC STAY


         Inasmuch as the Debtor has had one prior case under Chapter 13 of the Bankruptcy Code which was pending
within a twelve month period prior to the filing of the instant case, § 362(c)(3)(A) provides that the automatic stay
shall terminate with respect to the Debtor on the thirtieth day after filing. Although there is a presumption that
one−time refilers have not filed in good faith, they are permitted to overcome the presumption.

         Pursuant to 11 U.S.C. § 362(c)(3) after notice to all parties in interest and no responses having been filed,

        IT IS ORDERED that the automatic stay of 11 U.S.C. § 362 is extended and remains in full force and effect.




                                                            Edward J. Coleman III
                                                            United States Bankruptcy Judge
                                                            125 Bull St, Rm 213
                                                            P.O. Box 8347
                                                            Savannah, GA 31412


Dated April 18, 2019


GASB80 [02/09] CLD
